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EXHIBIT B
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LEGAL NOTICE

If You Bought A Cathode Ray Tube (“CRT”) or CRT Product, A Class Action
Settlement May Affect You.

CRT Products include Televisions or Computer Monitors that contain Cathode Ray Tubes

A settlement has been reached with a group of
defendants in a class action lawsuit involving CRTs
and CRT Products. This is the fifth settlement to
date. CRT stands for “Cathode Ray Tube.” “Cathode
Ray Fube (CRT) Products” include Cathode Ray
Tubes and finished products that contain a Cathode
Ray Tube such as Televisions and Computer
Monitors.

What is this lawsuit about?

The lawsuit alleges that Defendants and Co-
Conspirators engaged in an unlawful conspiracy to
fix, raise, maintain or stabilize the prices of CRTs.
Plaintiffs further claim that direct purchasers of
televisions and monitors that contain a cathode ray
tube from the Defendants may recover for the effect
that the cathode ray tube conspiracy had on the prices
of televisions and monitors. Plaintiffs allege that, as
result of the unlawful conspiracy, they and other
direct purchasers paid more for CRT Products than
they would have absent the conspiracy. Defendants
deny Plaintiffs’ claims.

Who's included in the settlement?

The Settlement includes all persons and entities who,
between March 1, 1995 and November 25, 2007,
directly purchased a CRT Product in the United
States from any defendant or subsidiary or affiliate
thereof (“Settlement Class”).

Who are the Setiling Defendants?

A Settlement has been reached with Defendants
Toshiba Corporation, Toshiba America Information
Systems, Inc., Toshiba America Consumer Products,
L.L.C., and Toshiba America Electronic
Components, Inc. (collectively “Toshiba” or “Settling
Defendants”). A complete list of Defendants is set
out in the Long Form of Notice available at
www-CRTDirectPurchaserAntitrustSettlement.com.

What does the Settlement provide?

The Settlement provides for the payment of
$13,500,000 in cash to the Settlement Class. The
Settling Defendants agreed to cooperate with the
Plaintiffs in providing certain information about the

allegations in the Complaint. Money will not be
distributed to Class members at this time, The
lawyers will pursue the lawsuit against the other
Defendants to see if any future settlements or
judgments can be obtained in the case and then be
distributed together, to reduce expenses.

What are my rights?

If you wish to remain a member of the Settlement
Class you do not need to take any action at this time.
If you do not want to be legally bound by the
Settlement, you must exclude yourself in writing by

, 2013, or you will not be able to sue, or |
continue to sue, the Settling Defendants about the
legal claims in this case.

If you wish to comment on or disagree with any
aspect of the proposed settlement, you must do so in
writing no later than , 2013. The Settlement
Agreement, along with details on how to object to
them, is available at
www.CRTDirectPurchaserAntitrustSettlement.com.
The U.S. District Court for the Northern District of
California will hold a Fairness Hearing at on

, 2013, at JAMS, Two Embarcadero, Suite
1500, San Francisco, CA 94111. The hearing may be
moved to a different date or time without additional
notice, so it is a good idea to check the class website
for information.

The Court has appointed the law firm of Saveri &
Saveri, Inc. to represent Direct Purchaser Class
members as Interim Lead Class Counsel. At the
Fairness Hearing, the Court will consider whether the
Settlement is fair, reasonable and adequate. If there
are objections or comments, the Court will consider
them at that time. You may appear at the hearing, but
don’t have to. We do not know how long these
decisions will take. Please do not contact JAMS or
the Court about this case.

This is a Summary Notice. For more details, call toll
free 1-877-224-3063, visit

www.CRT DirectPurchaserAntitrustSettlement.com.,
or write to CRT Direct Settlement, P.O. Box 808003,
Petaluma, CA 94975.
